          Case
3/24/25, 1:36 PM 1:25-cv-00509-LMB-LRV                    Document      1-9 Filed 03/21/25 Page 1 of 1 PageID# 47
                                                           vaed-e-alexapps.adu.dcn/vnetapps/prdb/main/rpt_person.pl


                                                       PRISONERS DATABASE




                                                                     MAIN PAGE

                                             All Records for Julio Cesar Sanchez Puentes
                                                       File                                                              Three
     RecordID       PrisonerID       Name       AKA                Judge RecDate Office Year CV Num Action Disposition
                                                       Date                                                              Strikes
                                  Julio
                                  Cesar                2025-          2025-03-
   35547                 99999                               Brinkema          1        25   cv   509   28:2241
                                  Sanchez              03-24          24
                                  Puentes
   TOTAL
   RECORDS:1




https://vaed-e-alexapps.adu.dcn/vnetapps/prdb/main/rpt_person.pl                                                                   1/1
